Case 2:18-cv-00619-AWA-LRL Document 46 Filed 12/31/20 Page 1 of 2 PageID# 341




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF VIRGINIA
                               Norfolk Division


MICHAEL HAIRSTON,

                   Plaintiff,

      v.                                                    ACTION NO. 2:18cv619

WAL-MART STORES EAST, LP,

                   Defendant.


                                      ORDER

      On October 27, 2020, the Court referred Defendant’s Motion to Enforce

Settlement to United States Magistrate Judge Lawrence R. Leonard for a Report and

Recommendation, pursuant to 28 U.S.C. § 636(b)(1)(B) and Rule 72(b) of the Federal

Rules of Civil Procedure. Order at 1–2, ECF No. 42; see also Mot. Enforce Settlement,

ECF No. 35. The Magistrate Judge held a remote hearing with the parties on

December 4, 2020, and subsequently issued a Report and Recommendation on

December 7, 2020. Minutes, ECF No. 44; R&R, ECF No. 45.

      In his Report and Recommendation, the Magistrate Judge recommended

DENYING Defendant’s Motion to Enforce Settlement. R&R at 1–7. By copy of the

Report and Recommendation, each party was advised of the right to file written

objections to these findings and recommendations within fourteen days. Id. at 6–7.

The time for filing written objections has passed, and neither party has filed

objections.
Case 2:18-cv-00619-AWA-LRL Document 46 Filed 12/31/20 Page 2 of 2 PageID# 342




      The Court has reviewed the Report and Recommendation and hereby

ADOPTS and APPROVES in full the findings and recommendations set forth

therein. Accordingly, it is hereby ORDERED that Defendant’s Motion to Enforce

Settlement, ECF No. 35, is DENIED for the reasons detailed in the Report and

Recommendation.

      The Court notes that this action was initially set for a jury trial on May 5, 2020;

however, in an Order dated April 6, 2020, the Court struck the trial date and all

related deadlines, and ordered the parties to file any dispositive motions within thirty

days. Order, ECF No. 34. Defendant filed its Motion to Enforce Settlement in

response to the Court’s April 6, 2020 Order. To the extent either party wishes to

file a dispositive motion addressing the possible merits of Plaintiff’s claims

(as opposed to the settlement-related issues that have since been resolved),

any such motion must be filed within thirty days from the date of entry of

this Order. After receipt and review of any such dispositive motions, or the

expiration of time to file such motions, the Court will provide further guidance

regarding scheduling issues, as necessary.

      The Clerk is DIRECTED to send a copy of this Order to Plaintiff and counsel

for Defendant.

      IT IS SO ORDERED.

                                                                    /s/
                                                          Arenda L. Wright Allen
                                                        United States District Judge
December 31, 2020
Norfolk, Virginia



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